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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                         CIVIL MINUTES - GENERAL
 Case No.         CV 19-08171 PA (SKx)                                          Date    March 10, 2020
 Title            Wesco Insurance Company v. Tauler Smith LLP et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
                  T. Jackson                               Not Reported                          N/A
                Deputy Clerk                              Court Reporter                       Tape No.
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                  IN CHAMBERS — COURT ORDER

        Before the Court is a Motion to Bifurcate and Stay filed by Plaintiff Wesco Insurance Company
(“Plaintiff”). (Dkts. 38 and 39 (“Mot.”).) Defendant Tauler Smith LLP (“Defendant”) filed an
Opposition and Plaintiff filed a Reply. (Dkts. 44 (“Opp.”) and 45.) Defendants Roma Mikha, Inc.,
NMRM, Inc., and Skyline Market, Inc. (hereinafter “Claimants”) have not joined in, or made any filings
related to, the Motion to Bifurcate and Stay. Pursuant to Rule 78 of the Federal Rules of Civil Procedure
and Local Rule 7-15, the Court finds that this matter is appropriate for decision without oral argument.
The hearing calendared for March 16, 2020 is vacated and the matter taken off calendar.

         I.         Background

        Plaintiff seeks a declaration of rescission of a professional liability insurance policy that it issued
to Defendant. (Compl. ¶1.) Plaintiff alleges that Defendant made material misrepresentations on its
insurance applications and a warranty letter, all of which Plaintiff relied on in issuing the policy. (Id.)
Plaintiff filed a Complaint against Defendant and Claimants that raises two claims for relief:
(1) rescission and (2) declaratory relief. Plaintiff alleges that if Defendant had provided truthful answers
in the insurance application and warranty letter, then Plaintiff “would not have issued the Policy . . . or at
least would have excluded all claims related to the allegations contained in the Poe Letter and the Initial
Counterclaim.” (Id. at ¶77.) The Court previously denied Defendant’s Motion to Dismiss Plaintiff’s
rescission claim. (Dkt. 31.) Defendant then filed an Answer to Plaintiff’s Complaint, as well as a
Counterclaim against Plaintiff that raises three claims for relief: (1) breach of contract, (2) bad faith, and
(3) declaratory relief. (Dkts. 35 and 36.) Defendant argues Plaintiff breached the implied covenant of
good faith and fair dealing by wrongfully attempting to rescind the policy, and wrongfully denying
coverage in connection with the underlying lawsuit that Claimants have brought against Defendant.
(Dkt. 35 at 14, 20.) Plaintiff now seeks an order from the Court bifurcating Defendant’s bad faith claim
from the rescission and coverage issues in this case, and staying the proceedings for the bad faith claim
until the insurance coverage issues have been resolved. (Mot. at 1-2.)

         II.        Legal Standard

       “For convenience, to avoid prejudice, or to expedite and economize, the court may order a
separate trial of one or more separate issues, claims, crossclaims, counterclaims, or third-party claims.”
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                             UNITED STATES DISTRICT COURT
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Fed. R. Civ. P. 42(b); see also Hamm v. Am. Home Prods. Corp., 888 F. Supp. 1037, 1038 (E.D. Cal.
1995) (“Rule 42(b) explicitly grants the district court the discretion to determine whether to bifurcate
issues”) (citing Arthur Young & Co. v. United States Dist. Court, 549 F.2d 686, 697 (9th Cir. 1977)).
The district court has broad discretion to bifurcate a trial to permit deferral of costly and possibly
unnecessary proceedings pending resolution of potentially dispositive preliminary issues. Jinro America
Inc., v. Secured Investments, Inc., 266 F.3d 993, 998 (9th Cir. 2001). Factors to be considered when
ruling on a Rule 42(b) motion include complexity of issues, factual proof, risk of jury confusion,
difference between the separated issues, the chance that separation will lead to economy in discovery,
and the possibility that the first trial may be dispositive. Calmar, Inc. v. Emson Research, Inc., 850 F.
Supp. 861, 866 (C.D. Cal. 1994). The party moving for bifurcation has the burden to demonstrate that
judicial economy would be promoted and that the non-moving party will not suffer prejudice.
Spectra-Physics Lasers, Inc. v. Uniphase Corp., 144 F.R.D. 99, 101 (N.D. Cal. 1992).

         III.    Analysis

        The Court finds that bifurcation is not warranted in this case. Defendant’s bad faith claim shares
a clear nexus of facts with the insurance coverage issues. Thus, “bifurcating claims would serve only to
generate duplicative proceedings and spiraling costs.” See Aerojet Rocketdyne, Inc. v. Global Aero.,
Inc., 2018 U.S. Dist. LEXIS 143824, at *16 (E.D. Cal. Aug. 23, 2018) (denying motion to bifurcate
without prejudice). For example, if the parties end up participating in two separate trials in this case,
they may inevitably have to present the same evidence twice because the jury could not decide whether
Plaintiff breached the implied covenant of good faith and fair dealing without first understanding the
nature of the insurance policy that the parties entered into. Joint discovery and proceedings will be more
convenient to the parties and would best promote judicial economy. Compare Estate of Hoxsey v.
Allstate Prop. & Cas. Ins. Co., 2016 U.S. Dist. LEXIS 183016, at *8 (W.D. Wash. May 31, 2016) (“It is
much more expensive and time consuming to resolve an action in two separate phases, particularly
where Allstate insists not only on separate trials, but on staying and partitioning discovery.”). Plaintiff’s
desire to resolve this case efficiently, and without reaching the bad faith claim, would be more
appropriately addressed through a motion for summary judgment on the rescission issue.

                                                Conclusion

        Plaintiff has failed to demonstrate that bifurcation will promote judicial economy and not
prejudice Defendant. Therefore, Plaintiff’s Motion to Bifurcate and Stay is DENIED. Additionally, the
Court has reviewed Defendant’s Counterclaim, which was timely filed with the Answer and included a
demand for jury trial. To the extent the Counterclaim includes claims that are triable by a jury, the Court
has attached new pretrial dates for a jury trial on those issues. The Court’s previous order setting dates
for a bench trial on the equitable issues in this case, (Dkt. 33), shall still remain in effect.

         IT IS SO ORDERED.



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                              Schedule of Trial and Pretrial Dates

CASE NO.:                    CV      19-08171


PARTIES:                          Wesco Insurance Company
                                        -v-
                                  Tauler Smith LLP et al

COMPLAINT FILED:                  09/20/19


TRIAL TYPE:                       Jury

SETTLEMENT CHOICE:
Court/Magistrate
Court's Mediation Panel
Private Dispute Resolution                X
Judicial Settlement Panel

    DATE                          MATTER

   09/01/20                       Jury Trial at 9:00 a.m.

   08/27/20                       File Final Trial Exhibit Stipulation

   08/24/20                       Hearing on Motions in Limine at 1:30 p.m.
                                  Hearing on Disputed Jury Instructions at 1:30 p.m.

   08/07/20                       Final Pretrial Conference at 1:30 p.m.
                                  Motions in Limine to be Filed
                                  Proposed Voir Dire Questions & Agreed-to Statement of Case

   07/24/20                       Lodge Pretrial Conference Order & Pretrial Exhibit Stipulation
                                  File Contentions of Fact & Law
                                  Exhibit & Witness Lists
                                  File Joint Status Report Regarding Settlement
                                  File Agreed Upon Set of Instructions & Verdict Forms
                                  File Joint Statement Regarding Disputed Instructions, Verdicts, etc.

   07/06/20                       Last Date to Conduct Settlement Conference

   06/29/20                       Last Day for Hearing Motions

   06/22/20                       Discovery Cut-off

   04/06/20                       Last Day for Hearing on Motion to Amend Pleadings or Add Parties
